 

Case 2:04-cr-01189-CAS Document 228 Filed 09/11/20 Page 1 of 3 Page ID #:

RK, U.S. DISTRICT COURT

 

United States District Court September 11, 2020
Central District of California

 

 

 

CENTRAL DISTRICT OF CALIFORNIA
United States of America py: CMJ DEPUTY

 

 

Plaintiff
Case Number
CR-04-1189-CAS

Gabriel Gonzalez
Defendant, Pro Se

Motion to Correct Clerical Error

Gabriel Gonzalez asks this honorable court to accept this filing of documents
in place of his previously filed set, in order to correct a clerical error.

Gonzalez previously mailed his Reply to Government's Response motion to this
court for consideration. That document, however, was not mailed with the necessary
supporting exhibits which are referenced in the Reply Motion. This new filing is
made to correct that error. Gonzalez prays this court accept this new filing with

the exhibits and apologizes for any inconvenience his previous error may have caused.

Certificate of Service

I certify under the penalty of perjury that the foregoing Reply to government's
Response was placed in the prison's internal mail system, postage pre-paid, for
service upon this court via U.S. mail on this 15th day of July, 2020 to this court's
clerk at 312 N. Spring Street Los Angeles, California 90012. Gonzalez asks this
court's clerk to serve all other interested parties by electronic notification and

to serve him with a stamped filed copy of this, and all pleadings, in this matter.

 
   

Gabriel Gdnza
Defendant, Pro Se

 
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